













Opinion issued August 10, 2006




&nbsp;



In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00834-CV
____________

IRA JONES, Appellant

V.

HOUSTON STRUCTURAL, INC. AND DON LAMMERS, Appellees




On Appeal from the County Civil Court at Law No. 4
Harris County, Texas
Trial Court Cause No. 758,580




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The parties have filed a joint motion to dismiss their appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(2).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Taft and Higley.


